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10   Attorneys for Defendants
     SCIENCE FEEDBACK and
11   CLIMATE FEEDBACK

12
                                IN THE UNITED STATES DISTRICT COURT
13
                            THE NORTHERN DISTRICT OF CALIFORNIA
14
     JOHN STOSSEL, an individual,                  Case No. 5:21-cv-07385-LHK
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                  Plaintiffs,
16                                                 NOTICE OF APPEARANCE OF
           v.                                      ABIGAIL ZEITLIN
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     FACEBOOK, INC., a Delaware corporation;
18   SCIENCE FEEDBACK, a French non-profit
     organization; and CLIMATE FEEDBACK, a         Complaint Filed: September 22, 2021
19   French non-profit organization,
20                Defendants.
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     NOTICE OF APPEARANCE OF ABIGAIL ZEITLIN
     Case No. 5:21-CV-07385-LHK
        Case 5:21-cv-07385-VKD Document 42 Filed 01/04/22 Page 2 of 2


 1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that Abigail Zeitlin hereby appears on behalf of Defendants,

 3   SCIENCE FEEDBACK and CLIMATE FEEDBACK, in the above-entitled action, and requests

 4   that all further papers and pleadings, except original process, be served upon the undersigned

 5   attorneys at the above-stated address.

 6

 7   DATED: January 4, 2022                              DAVIS WRIGHT TREMAINE LLP
                                                         THOMAS R. BURKE
 8                                                       SELINA MACLAREN
                                                         ABIGAIL ZEITLIN
 9

10                                                       By: /s/ Abigail Zeitlin
                                                             Abigail Zeitlin
11
                                                         Attorneys for Defendants
12                                                       SCIENCE FEEDBACK and
                                                         CLIMATE FEEDBACK
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     NOTICE OF APPEARANCE OF ABIGAIL ZEITLIN
     Case No. 5:21-CV-07385-LHK
